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                    EXHIBIT B
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                                                                   Page 1

1
2       UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
3       Civil Case No. 17-CV-02393
        - - - - - - - - - - - - - - - - - - - -x
4       CIERA WASHINGTON,
                            Plaintiff,
5                -against-
        WALGREENS; WALGREENS CO.; DUANE READE;
6       DUANE READE INC.; DUANE READE
        INTERNATIONAL, LLC; and Individually and
7       Jointly; LUIS GUERRERO; GERMAINE ALLEN;
        VIVIAN GHOBRIAL; and CRYSTAL BECKRUM,
8                           Defendants.
        - - - - - - - - - - - - - - - - - - - -x
 9
10                                      1250 Broadway
                                        New York, New York
11                                      February 7, 2018
                                        10:00 a.m.
12
13                    PORTIONS CONFIDENTIAL,
                      ATTORNEYS' EYES ONLY
14
15         DEPOSITION of MICHAEL GEYER, a witness
16      appearing on behalf of the Defendants in
17      the above-entitled action, held at the
18      above time and place, taken before Brian
19      Brenner, a Shorthand Reporter and Notary
20      Public of the State of New York, pursuant
21      to the Federal Rules of Civil Procedure,
22      Court Order and stipulations between
23      Counsel.
24
25

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1                     M. GEYER - CONFIDENTIAL
2       your ability to testify accurately today?
3              A       No.
4                      MS. MORRISON:                We can come out
5              of confidentiality now.
6              Q       Now, you earlier said that you
7       didn't know -- correct me if I am wrong --
8       really anything about the specifics of any
9       discipline that Plaintiff received, right?
10             A       That's correct.
11             Q       So you don't really know any
12      specifics related to Plaintiff being
13      suspended?
14             A       No, I do not.
15             Q       And you don't know any specifics
16      related to Plaintiff being fired?
17             A       No, I do not.
18             Q       And you don't know any specifics
19      related to Defendants' claim that
20      Plaintiff somehow had something to do with
21      price modifications at the store?
22             A       Specifically, like, what those
23      were?       The transactions that are in
24      question?        Just do I know that there was
25      something about price modifications that

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1                             M. GEYER
2       led to her termination?
3              Q       Broadly.
4              A       Yes, I know that.
5              Q       So you know that her termination
6       was --
7                      MS. MORRISON:                Strike that.
8              Q       You know that Defendants are
9       claiming that they fired Plaintiff because
10      she somehow had something to do with a
11      price modification?
12             A       Correct.
13             Q       Do you know anything more beyond
14      that?
15             A       I do not.
16             Q       Do you know who's alleging that
17      Plaintiff was fired because of being
18      involved with some price modifications?
19             A       Who's alleging?                No.
20             Q       Do you know any information that
21      was provided related to Plaintiff
22      allegedly having something to do with a
23      price modification?
24             A       Have I seen the documentation?
25             Q       Do you know anything about it?

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1                             M. GEYER
2              A       No.
3              Q       So really all you know just
4       generally is Defendants claim they fired
5       Plaintiff because they claim she was
6       allegedly involved with price
7       modification?
8              A       Correct.
9              Q       But you don't know any specifics
10      related to that?
11             A       I do not.
12             Q       In any way?
13             A       In any way.
14             Q       So when we're talking about --
15                     MS. MORRISON:                Strike that.
16                     Mark these as the first
17             exhibits, please.
18                     [Whereupon, the above-mentioned
19             documents were marked Plaintiff's
20             Exhibits 1 through 3 for
21             identification.]
22             Q       I'm handing you documents marked
23      as Plaintiff's Exhibits 1, 2, and 3.
24      Please take a look at them (handing).
25                     Pay particular attention to the

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1                             M. GEYER
2              A       Probably the manager.                It could
3       have been reviewed at the time of hire.
4       We had central orientations that were
5       given to new hires that might have
6       discussed the progressive discipline, you
7       know, actions, the steps in that regard.
8       Not in this particular handbook, but I
9       believe in subsequent handbooks it was
10      outlined a little bit differently.
11             Q       But again, Plaintiff's Exhibit 5
12      is the only employee handbook and the only
13      written document containing any and all
14      workplace policies during Plaintiff's
15      employment, correct?
16             A       Yes.
17             Q       You are saying progressive
18      discipline was discussed with employees
19      including Plaintiff during their
20      employment, just not put in the employee
21      handbook, correct?
22             A       I can't say specifically for
23      Ms. Washington or any other specific
24      employee, but I believe that was to be a
25      practice that was applied in a store

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1                             M. GEYER
2       what the circumstances were or are that
3       something was written later, you know,
4       months later.
5              Q        Because that's unusual, correct?
6                       MS. WELCH:            Objection.
7              A        It's not typical.
8              Q        If someone --
9                       MS. MORRISON:               Strike that.
10             Q        Again you said you've never --
11      you don't know anything specific about
12      Plaintiff with respect to this at all,
13      right?
14             A        I do not.
15             Q        How about the following pages of
16      this document, 177 through 188?                     Do you
17      have any knowledge of the significance of
18      these documents produced by Defendant with
19      respect to Plaintiff?
20             A        Specifically to her, no, I do
21      not.        I mean, I know what they are.
22             Q        What are they?
23             A        So these are electronic captures
24      of specific transactions.                     That's on 177.
25      Then after that, 178 through 188, they

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1                             M. GEYER
2              A       That is correct.
3              Q       In terms of topic number one,
4       any and all policies and/or practices
5       regarding opening and closing Defendants'
6       store located at 568 West 125th Street, do
7       you know any specifics with respect to
8       Plaintiff in that regard?
9              A       No, I don't.
10             Q       Do you know any specifics with
11      respect to people who are assigned to open
12      the store alone or otherwise?
13             A       I do not.
14             Q       So you just know the general --
15      what you've already testified to?
16             A       Correct.
17             Q       Is there anything else that you
18      know with respect to topic number one,
19      those policies and/or practices that may
20      pertain to Plaintiff or to this case in
21      general that you haven't already testified
22      to?
23             A       I don't believe so, no.
24                     MS. MORRISON:                Just give me a
25             minute.

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